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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No.    22-cr-00113-CMA-GPG

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1.   DEBRA CAMPBELL,

      Defendant.


                       GOVERNMENT=S OBJECTIONS TO THE
                        PRESENTENCE REPORT [DOC. #18]



      The United States of America hereby files the Government’s Objections to the

Presentence Report [Doc. # 18].

      Paragraph 35 of the Presentence Report (PSR) states: “Counts 1 and 2 are

grouped together for guideline calculation purposes because the offense level is

determined largely on the basis of the total amount of harm or loss…”. [Doc. #18 at

¶ 35]. The government objects to this statement because it is an incorrect

interpretation of the grouping rules set forth in the sentencing guidelines. [See

U.S.S.G. § 3D1.2].

      Section 3D1.2 of the United States Sentencing Guidelines states: “All counts

involving substantially the same harm shall be grouped together into a single group.”


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[U.S.S.G. § 3D1.2]. Counts 1 and 2 do not group together because they do not involve

the same harm. The harm resulting from defendant’s wire fraud was the loss to the

HOA victims from whom she embezzled money. [Doc. # 10 at pp. 8-10]. The harm

resulting from the defendant’s subscribing to a false tax return was the under reporting

of, and failure to pay, the income taxes that she owed. [Id. at pp. 11-14]. These are

completely separate harms. Additionally, these two offenses do not involve the same

victim, the same transaction, or a common scheme or plan. [See U.S.S.G. § 3D1.2 (a)-

(c)].

        While the offense level of each of these offenses is driven by the resulting loss,

those loss amounts are not accounted for in the same manner by their respective

guideline sections. The loss for wire fraud is accounted for in the loss chart found

under Section 2B1.1(b) while tax losses are accounted for in the tax chart found under

Section 2T4.1. The same dollar amount receives different enhancement levels under

each chart. [See U.S.S.G. § § 2B1.1 (b) and 2T4.1]. Combining these losses, as was

done in Paragraph 37 of the PSR, erodes the different treatment that these loss

amounts are intended to have under the guidelines.

        Because Counts 1 and 2 should not be grouped, the government also objects to

the Adjusted Offense Level of 23 and the Total Offense Level of 20 that are set forth in

Paragraphs 42 and 46 of the PSR. [Doc. # 18 at ¶¶ 42 and 46]. Instead, as set forth

in the plea agreement, the Adjusted Offense Level should be 24, and the Total Offense

Level should be 21. [Doc. # 10 at pg. 15].

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                                       Respectfully submitted,

                                       COLE FINEGAN
                                       United States Attorney

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                               CERTIFICATE OF SERVICE


        I hereby certify that on this 4th day of October, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to all counsel of record in this case.



                                                          s/ Amy McDaniel
                                                          Amy McDaniel
                                                          Legal Assistant
                                                          U.S. Attorney’s Office




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